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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
 LLC, et al.1,
                                                    (Jointly Administered)
                 Debtors.
                                                    Rescheduled Hearing Date: December 16, 2024 at 1:00 p.m. (ET)

                                                    Docket Ref. Nos. 924 & 925


NOTICE OF RESCHEDULED HEARING REGARDING (I) CONSOLIDATED FIFTH
 MONTHLY AND FINAL APPLICATION OF M3 ADVISORY PARTNERS, LP FOR
       ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
REIMBURSEMENT OF EXPENSES AS FINANCIAL ADVISOR FOR THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS FOR THE MONTHLY PERIOD FROM
 OCTOBER 1, 2023, THROUGH SEPTEMBER 16, 2024, AND THE FINAL PERIOD
         FROM JANUARY 30, 2023, THROUGH SEPTEMBER 16, 2024 AND
  (II) CONSOLIDATED SIXTEENTH MONTHLY AND FINAL APPLICATION OF
        FAEGRE DRINKER BIDDLE & REATH LLP FOR ALLOWANCE OF
   COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
 EXPENSES AS ATTORNEYS TO THE OFFICIAL COMMITTEE OF UNSECURED
        CREDITORS FOR THE MONTHLY PERIOD FROM AUGUST 1, 2024,
        THROUGH SEPTEMBER 16, 2024, AND THE FINAL PERIOD FROM
             JANUARY 30, 2023, THROUGH SEPTEMBER 16, 2024

                PLEASE TAKE NOTICE that the hearing scheduled for December 18, 2024 at

2:30 p.m. (ET) has been rescheduled to December 16, 2024 at 1:00 p.m. (ET) before the

Honorable J. Kate Stickles, United States Bankruptcy Judge for the District of Delaware, 824

Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware 19801 for the following matters:

          1.    Consolidated Fifth Monthly and Final Application of M3 Advisory Partners, LP for
                Allowance of Compensation for Services Rendered and Reimbursement of
                Expenses as Financial Advisor for the Official Committee of Unsecured Creditors
                for the Monthly Period from October 1, 2023, through September 16, 2024, and the
                Final Period from January 30, 2023, through September 16, 2024 [Docket No. 924];
                and


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         The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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       2.      Consolidated Sixteenth Monthly and Final Application of Faegre Drinker Biddle &
               Reath LLP for Allowance of Compensation for Services Rendered and
               Reimbursement of Expenses as Attorneys to the Official Committee of Unsecured
               Creditors for the Monthly Period from August 1, 2024, through September 16,
               2024, and the Final Period from January 30, 2023, through September 16, 2024
               [Docket No. 925].



   Dated: November 15, 2024             FAEGRE DRINKER BIDDLE & REATH LLP

                                        /s/ Jaclyn C. Marasco
                                        Patrick A. Jackson (Bar No. 4976)
                                        Jaclyn C. Marasco (Bar No. 6477)
                                        222 Delaware Avenue, Suite 1400
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 467-4200
                                        Facsimile: (302) 467-4201
                                        Emails: patrick.jackson@faegredrinker.com
                                                 jaclyn.marasco@faegredrinker.com

                                        -and-

                                        Richard J. Bernard (admitted pro hac vice)
                                        1177 Avenue of the Americas, 41st Floor
                                        New York, New York 10036
                                        Telephone: (212) 248-3263
                                        Facsimile: (212) 248-3141
                                        Email: richard.bernard@faegredrinker.com

                                        Counsel to the Official Committee of Unsecured
                                        Creditors




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